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                   EXHIBIT B
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201 Montgomery St, 2nd Floor, Suite 263
Jersey City, NJ 07302 USA




December 2021 BlockFi Interest Account Statement
Name                  Pham Duy Anh Dang
Email                 anik657@gmail.com
Address
                      SH41.06
                      Ho Chi Minh, Ho Chi Minh 700000 VN

Account ID
Flex Selection        ---
Month Ending          December 31, 2021




You earned approximately
$6,793.65 * worth of crypto.

 Crypto Prices*             Interest Earned             Credit Card Rewards         Referral/Bonus Earned   Ending Balance
                                                        Earned

 1 ETH                      0.00965818                  0                           0                       13.33273029
 $3,682.63                  $35.57                                                                          $49,099.51

 1 USDT                     6,758.08091148              0                           0                       2,194,502.54917848
 $1.00                      $6,758.08                                                                       $2,194,502.55

 Total* in USD              $6,793.65                   $0.00                       $0.00                   $2,243,602.06




* Amounts in USD are based on the closing price per CoinMarketCap and are for information purposes only.
Actual balances are denominated in cryptocurrency, not USD.
Actual amounts will vary based on activity, rates, and compliance with BlockFi’s terms & conditions.
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          CERTIFICATION PURSUANT TO THE FEDERAL SECURITIES LAWS


 I, Arman Reyes (“Movant”) declares under penalty of perjury, as to the claims asserted under

 the federal securities laws, that:

     1. I have reviewed the Class Action Complaints in Trey Greene, Individually and on Behalf

          of All Others Similarly Situated v. Zac Prince, et al., Case No. 2:23-cv-01165 and Elas v.

          Zac Prince, et al., 23-cv- 10422 (U.S.D.C. D. Mass.) and authorize the filing of a motion

          to be appointed lead plaintiff and for my counsel to be appointed lead counsel for me as

          lead plaintiff in that action.

     2. I did not purchase the securities that are the subject of this action at the direction of

          plaintiffs’ counsel or in order to participate in this private action or any action arising

          under the federal securities laws.

     3. I am willing to serve as a representative party on behalf of the class described in Greene

          and Elas, including providing testimony at deposition and trial, if necessary, and I am

          willing to serve as a lead plaintiff either individually or cooperate as part of a group of

          lead plaintiffs, a lead plaintiff being a representative party who acts on behalf of other

          class members in directing the action.

     4. I was at all relevant time an investor in BlockFi accounts.

     5.   In total, I invested $ 460,000       in BlockFi via transfer of funds and sustained

          approximately $         492,000           in losses. In addition, my losses include accrued

          but un-credited interest at the rate of 9% per annum on the total of the balances in my

          accounts with the total amount subject to discovery. Attached as Exhibit A is a

          spreadsheet of my BlockFi transaction history.
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    6. My assets are frozen and unavailable and their worth is indeterminate and was being

        valued at zero for the purposes of estimating my losses here.

    7. During the three-year period preceding the date on which this Certification is signed, I

        have not sought to serve as a representative party on behalf of any class.

    8. I agree not to accept any payment for serving as a representative party on behalf of class

        as set forth in the Greene and Elas Complaints, beyond my pro rata share of any

        recovery, except such reasonable costs and expense directly relating to the representation

        of the class as ordered or any amount approved by the Court.

    9. I declare under penalty of perjury under the laws of the United States of America that the

        foregoing is true and correct.


 Executed this _ day of April, 2023                          /s/ Arman Reyes
                                                             Arman Reyes
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Cryptocurrency        BTC Amount ETH Amount GUSD Amount Transaction Type               Confirmed At        Price       Deposits/Withdrawals Interest/Re-Investment*
BTC                    0.02183795                                  Interest Payment    10/31/2022 23:59 $20,495.77                                            $447.59
GUSD                                                        733.86 Bonus Payment       10/20/2022 23:43
BTC                      0.0196564                                 Interest Payment     9/30/2022 23:59 $19,431.79                                            $381.96
BTC                    0.02174308                                  Interest Payment     8/31/2022 23:59 $20,049.76                                            $435.94
BTC                      0.0208404                                 Interest Payment     7/31/2022 23:59 $23,336.90                                            $486.35
BTC                    0.00233191                                  Interest Payment     6/30/2022 23:59 $19,784.73                                             $46.14
BTC                    0.00264221                                  Interest Payment     5/31/2022 23:59 $31,792.31                                             $84.00
BTC                    0.00300234                                  Interest Payment     4/30/2022 23:59 $37,714.88                                            $113.23
BTC                    0.00320735                                  Interest Payment     3/31/2022 23:59 $45,538.68                                            $146.06
BTC                      0.0028284                                 Interest Payment     2/28/2022 23:59 $43,193.23                                            $122.17
BTC                    0.00309837                                  Interest Payment     1/31/2022 23:59 $38,483.13                                            $119.23
ETH                                     4.7703669                  Crypto Transfer       1/4/2022 16:51 $3,857.68                 $18,402.55
BTC                    0.00715479                                  Interest Payment    12/31/2021 23:59 $46,306.45                                            $331.31
ETH                                          -0.015                Withdrawal Fee      12/30/2021 17:27
ETH                                          -4.735                Withdrawal          12/30/2021 17:27 $3,710.08                ($17,567.23)
BTC                      0.0067909                                 Interest Payment    11/30/2021 23:59 $57,005.43                                            $387.12
BTC                    0.00646581                                  Interest Payment    10/31/2021 23:59 $61,318.96                                            $396.48
BTC                    0.00617022                                  Interest Payment     9/30/2021 23:59 $43,790.89                                            $270.20
ETH                                    0.39607246                  Crypto Transfer       9/14/2021 2:37 $3,436.05                   $1,360.92
ETH                                             -0.4               Withdrawal           9/13/2021 19:55 $3,285.40                  ($1,314.16)
ETH                                           -0.02                Withdrawal Fee       9/13/2021 19:55
ETH                                           -0.75                Withdrawal           9/13/2021 19:55 $3,285.40                  ($2,464.05)
BTC                    0.01211652                                  Interest Payment     8/31/2021 23:59 $47,166.69                                            $571.50
BTC                    0.01129536                                  Interest Payment     7/31/2021 23:59 $41,626.20                                            $470.18
BTC                    0.02110037                                  Interest Payment     6/30/2021 23:59 $35,040.84                                            $739.37
BTC                    0.02311338                                  Interest Payment     5/31/2021 23:59 $37,332.86                                            $862.89
BTC                    0.03294938                                  Interest Payment     4/30/2021 23:59 $57,750.18                                          $1,902.83
BTC                    0.02182923                                  Interest Payment     3/31/2021 23:59 $58,918.83                                          $1,286.15
ETH                                   50.04649362                  Crypto Transfer      3/10/2021 21:52 $1,803.88                 $90,277.87
ETH                                              50                Crypto Transfer      3/10/2021 21:37 $1,806.66                 $90,333.00
BTC                    2.00180387                                  Crypto Transfer      3/10/2021 21:21 $55,884.60               $111,870.01
BTC                                2                               Crypto Transfer      3/10/2021 20:48 $56,284.48               $112,568.96
BTC                                1                               Crypto Transfer      3/10/2021 20:38 $56,502.02                $56,502.02
BTC                        5.00E-08                                Interest Payment     2/28/2021 23:59 $45,137.77                                              $0.00
BTC                    0.00010024                                  Crypto Transfer      2/23/2021 17:16 $47,553.62                      $4.77
Total Crypto Assets    5.25207853 99.29293298               733.86                              Total Initial Deposits           $459,974.66                $9,600.71
*All interest awarded set up to re-invest into BTC automatically


NOTE: All crypto assets were purchased prior to opening a BlockFi BIA account. All assets were transferred into a BIA account per the transaction dates above.


Annual Interest:          9%
Total value           $470,309.23

       6 months (Nov-Apr)
            Nov-22 $473,836.55
            Dec-22 $477,390.32
            Jan-23 $480,970.75
            Feb-23 $484,578.03
            Mar-23 $488,212.37
            Apr-23 $491,873.96
